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                                  RECEIVER’S REPORT
                            ACCOMPANYING FINAL ACCOUNTING

                            CIVIL ACTION CASE NO. 4:13-CV-001142

                              BARKER CYPRESS MARKET PLACE
                             17817 FM 529 – HOUSTON, TEXAS 77095

                                            September 18, 2014
TERMINATION AND DISCHARGE OF RECEIVERSHIP:

Pursuant to that certain Agreed Order Granting Agreed Motion to Terminate Receivership [Docket No. 64] filed
with the Court on April 7, 2014 (the “Termination Order”), the receivership established by the May 29, 2013
Agreed Order Appointing Receiver [Docket No. 9] (the “Receivership Order”) was closed and terminated and
Mark T. Fowler (the “Receiver”) was discharged and relieved from all duties and obligations under the
Receivership with the exception of certain duties set forth in the Termination Order, including the filing of the
Interim Accounting and the Final Accounting. The Interim Accounting was filed on April 22, 2014 and an
agreement has been reached in connection with the Vendor Settlement referenced in the Termination Order.
This report is prepared in connection with the filing of the Final Accounting. In the event that the three (3) day
objection period passes without any objections being filed, Receiver plans to disburse the Remaining Funds to
Horizon Special Projects, LLC (“Horizon”), in accordance with the Termination Order. Upon the passing of the
objection period and the payment of the Remaining Funds to Horizon, the Receivership will be fully and finally
terminated and the Receiver discharged from all duties under the Receivership Order as set forth in the
Termination Order.

INCORPORATION OF RECEIVERSHIP REPORTS:

All prior monthly reports filed by the Receiver and the report accompanying the Final Accounting are
incorporated herein by reference.

OPERATIONS SINCE FILING OF INTERIM ACCOUNTING

Since the filing of the report accompanying the Interim Accounting, Receiver has worked to obtain resolution of
the Vendor Settlement. A settlement has been reached and Receiver will disburse the remaining funds to
Horizon in accordance with and subject to the terms and conditions of the Termination Order.
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